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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

 In the Matter of the Petition

                 of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,
                                                             Docket No. _______
                and
                                                             IN ADMIRALTY

 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,


 for Exoneration from or Limitation of
 Liability.

    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
     TO ACCEPT INTERIM STIPULATION FOR VALUE AND STIPULATION
        FOR COSTS AND FOR THE ENTRY OF RESTRAINING ORDER
                 AND ORDER FOR ISSUANCE OF NOTICE

       Petitioners GRACE OCEAN PRIVATE LIMITED (“Owner”), owner of the M/V DALI

(the “Vessel”), and SYNERGY MARINE PTE LTD, manager of the Vessel, by their undersigned

attorneys, hereby submit this Memorandum of Points and Authorities in support of their Motion

to Accept Interim Stipulation for Value and Stipulation for Costs and for the Entry of Restraining

Order and Order for Issuance of Notice.

                                 POINTS OF AUTHORITIES

       Rule F, Supplemental Rules of the Federal Rules of Civil Procedure for Certain Admira lty

and Maritime Claims.
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United States District Court for the District of Maryland Local Admiralty Rule (F).



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